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                           U N ITE D STA T E S D IST R IC T CO U R T
                           SO U TH E R N D ISTR IC T O F FLO R ID A

                     CASE NO.19-CR-6O385-SM ITH /VALLE(s)
 U N ITE D STA T ES O F A M E R ICA ,

 V.

 ST EV E N G A N G O O ,

                     D efendant.
                                         /
                                    PLEA A G R E EM EN T

       The U nited States Attorney's Office for the Southern D istrict of Florida

 (''this Office''land STEVEN GANGOO (hereinafterreferred to as the dtdefendant'')
 enter into the follow ing agreem ent:

        1.    The defendant agrees to plead guilt.y to count 1 ofthe Supçrseding

 Indictm entw hich charges thathe em ployed,used,persuaded,induced,enticed,

 or coerced a m inor to engage in sexuqlly explicit conduct for the purpose of

 producing a visualdepiction ofthe conduct,know ing or having reason to know

 that the visualdepiction w illbe transported in interstate com m erce,in violation

 ofTitle 18,United Statçs Code,Sections 2251(a)and 2251(e).
              This Office agrees to seek dism issalofcounts 2-5 ofthe Superseding

 indictm ent after sentencing.

              The defendant is aw are that the sentence w ill be im posed by the

 court after consideration of the Federal Sentencing G uidelines and Policy

 Statem ents (hereinaftertdsentencing Guidelines''). The defendantacknowledges
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 and understands that the court w ill com pute an advisory sentence under the

 Sentencing Guidelines and that the applicable guidelines w illbe determ ined by

 the court relying in part on the results of a Pre-sentence lnvestigation by the

 Courts probation office,which investigation w ill-com m ence after the guilty plea

 has been entered.       The defendant          also aw are that, under certain

 circum stances, the court m ay depart from the advisory sentencing guideline

 range thatithas com puted and m ay raise or lower thatadvisozy sentence under

 the Sentencing Guidelines. The defendant is further aw are and understands

 that the court is required to consider the advisoly guideline range determ ined

 under the Sehtencing Guidelines butis notbound to im pose thlt sentence;the

 court is perm itted to tailor the ultim ate sentence in light of other statutory

 concerns,and such sentence m ay be either m ore severe or less severe than the

 Sentencing Guidelines'àdvisory sentence. Know ing these facts,the defendant

 upderstands and acknowledges that the court has the authority to im pose any

 sentence w ithin and up to the statutory m axim um authorized by 1aw for the

 offense identified in paragraph 1 and that the defendant m ay not withdraw his

 plea solely as a resu lt of the sentence im posed.

             The defendant understands and acknowledges that the Court m ust

 im pose a m andat6ry m inim um offifteen (15)years and m ay im pose a statutory
 m u im um term ofthirty (30)yeqrs;a m inim um term offive (5)years supervised
 release up to life; a fine of up to tw o hundred fift.y thousand dollars

 ($250,000.00),
              .and an orderofrestitution.
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       5.    The defendant further understands and acknow ledges that, in

 addition to any sëntence im posed underparagraph 3 ofthis agreem ent,a special

 assessm entin the am ount of$100 willbe im posed on the defendant for each
 count to w hich he is pleading guilty. The defendant agrees that any special

 assessm entim posed shallbe paid atthe tim e ofsentencing. Ifthe defendm atis

 financially unable to pay the specialassessm ent,the defendantagrees to present

 evidence to this Office and the Court atthe tim e ofsentencing as to the reasons

 for the defendant's failure to pay.

             This Office reserves the right to inform the courtand the probation

 office of a11 facts pertinent to the sentencing process, including a11 relevant

 inform ation concerning the offenses com m itted,whether charged or not,as w ell

 as concerning the defendantand the defendant's background. Subjectonly to
 the express term s of any agreed-upon sentencing recom m endations contained

 in this agreem ent, this O ffice further reserves the right to m ake any
 '
 recom m endation as to the quality and quantity ofpunishm ent.

       7.    This Office agrees that it willm com m end at sentencing that the
 Court reduce by tw o levels the sentencing guideline level applicable to the

 defendant's offense,pursuantto Section 3E1.1(a)ofthe Sentencing Guidelines,
 based upon the defendant's recognition and affirm ative and tim ely acceptance of

 personalresponsibility.Ifat the tim e ofsentencing the defendant's offense level

 is determ ined to be 16 or greater,the governm ent w illfile a m otion requesting

 an additionalone-leveldecrease pursuantto Section 3E1.1(b)ofthe Sentencing
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 Guidelines, stating that the defendant has assisted authorities in the

 investigation or prosecution of his ow n m isconduct by tim ely notifying

 authorities of his intention to entçr a plea of guilty, thereby perm itting the

 governm ent to avoid preparing for trialand perm itting the governm entand the

 court to allocate their resources efficiently. Additionally, this Office and the

 Defendanthasjointly agreed to recop m end thatthisHonorable Courtim pose a
 term of im prisonm ent of fifteen years.The U nited States,how ever,w ill not be

 required to m ake this m otion or this recom m endation ifthe defendant:(1)fails
 orrefuses to m ake a full,accurate and com plete disclosure to the probation office

 pfthe circum stances surrounding the relevant offense conduct;(2)is found to
 have m isrepresented facts to the governm ent prior to entering into this plea

 agreem ent; or (3) com m its any m isconduct after entering into this plea
 agreem ent, including but not lim ited to,com m itting a state or federal offense,

 violating any term of release,or m aking false statem ents or m isrepresentations

 to any governm entalentity or official.

       8. The defendantis aw arethatthe sentence has notyetbeen determ ined

 by the Court. The defendant also is aw are that any estim ate of the probable

 sentencing range or sentence that the defendant m ay receive, whether that

 estim ate com es from the defendant's attorney,the governm ent,or the probation

 office,is a prediction,not a prom ise,and is notbinding on the governm ent,the

 probation office or the Court. The defendant understands further that any

 recom m endation that the governm ent m akes to the Court as to sentencing,
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 w hether pursuant to this agreem ent or othezw ise,is not binding on the Court

 and the Courtm ay disregard the recom m endation in its entirety. The defendant

 understands and acknow ledges, as previously acknow ledged in paragraph 3

 above,that the defendant m ay not w ithdraw his plea based upon the Court's

 decision notto accepta sentencing recoG m endation m ade by the defendant,the

 governm ent,or a recom m endation m ade jointly by both the defendantand the
 governnlent.

            D efendantunderstands thatby pleading g'uilty,he w illbe required to

 register as a sex offender upon his release from prison as a condition of

 supervised release pursuant to 18 U.S.C. j 3583(d).             Defendant also
 understands thatindependentofsupervised release,hewillbe subjectto federal
 and state sex offender registration requirem ents, and that those requirem ents

 m ay apply throughout defendant's life. Defendant understands that he shall

 keep his registrati6*tl current, shall notify ihe state sex offender registration

 agency or agencies of any changes to defendant's nam e,place of residence,

 em ploym ent,or student status,or other relevant inform ation.D efendant shall

 com ply w ith requifem ents to periodically verify in person defendant's sex

 offender registration inform ation. Defendant understands that he will be

 subjectto possiblefederaland statepenaltiesforfailureto com ply with any such
 sex offender registration requirem ents. lfdefendantresides in Florida follow ing

 release from prison,defendantwillbe subjectto the registration requirem entsof
 Florida State Statute 943.0435. Defendantfurther understands that,under 18
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 U .S.C.j 4042(c),notice willbe provided to certain 1aw enforcem ent agencies
 upon defendant's release from confinem entfollowing conviction.

                As a conditioù ofsupervised release,defendantshallinitially register
 with the state sex offender registration in the state of Florida, azad shall also
 register with the state sex offender registration agency in any state w here
 defendant resides, is em ployed, w orks, or is a student, as directed by the
 Probation O fficer. Defendant shallcom ply w ith al1requirem ents offederaland
 state sex offender registration law s, including the requirem ent to update
 defendant's registration inform ation.              D efendant shall provide proof of
 registration       the Probation Officer w ithin 72 hours of release from
 im prisonm ent.
                This is the entire agreem ent and understanding betw een this Office
 and the defendant. There are no other agreem ents,prom ises,representations,
 or understandings.
                                         JU A N A NTO NIO G O N ZA LE Z
                                         U N ITE S TE S AW O N EY

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